                      Case 2:15-cv-01839-JCM-EJY Document 31 Filed 01/11/21 Page 1 of 2



                 1
                 2
                 3
                 4                               UNITED STATES DISTRICT COURT
                 5                                       DISTRICT OF NEVADA
                 6                                                  ***
                 7    ANNETTE WALKER-GOGGINS,                              Case No. 2:15-CV-1839 JCM (EJY)
                 8                                         Plaintiff(s),                   ORDER
                 9           v.
               10     SOCIAL SECURITY ADMINISTRATION,
               11                                        Defendant(s).
               12
               13            Presently before the court is pro se plaintiff Annette Walker-Goggins’s motion to
               14     bound over to the federal district court. (ECF No. 28).
               15            This is an appeal of the Social Security Administration’s denial of benefits.
               16     Plaintiff’s motion is hard to follow. It can best be construed as a request for the federal
               17     district court to hear her case.     But Magistrate Judge Hoffman has already screened
               18     plaintiff’s claims (ECF No. 8), noting that “[t]he facts alleged in plaintiff’s complaint are
               19     difficult to follow and incomprehensible,” and are “incoherent, fanciful, and delusional.”
               20     (Id. at 2–3). Judge Hoffman recommended the complaint be dismissed with prejudice and
               21     this court adopted that recommendation. (ECF No. 13). This case has been closed since
               22     May 19, 2016, and plaintiff’s numerous post-judgment motions have all been denied.
               23     (Judgment, ECF No. 14).      Furthermore, plaintiff does not cite any legal authority that
               24     supports her requests. The failure of a party to file points and authorities in support of a
               25     motion constitutes consent to the denial of the motion. LR 7-2(d).
               26     ...
               27     ...
               28     ...

James C. Mahan
U.S. District Judge
                      Case 2:15-cv-01839-JCM-EJY Document 31 Filed 01/11/21 Page 2 of 2



                1           Accordingly,
                2           IT IS HEREBY ORDERED, ADJUDGED, and DECREED that plaintiff’s motion
                3     (ECF No. 28) be, and the same hereby is, DENIED.
                4           DATED January 11, 2021.
                5                                            __________________________________________
                                                             UNITED STATES DISTRICT JUDGE
                6
                7
                8
                9
              10
              11
              12
              13
              14
              15
              16
              17
              18
              19
              20
              21
              22
              23
              24
              25
              26
              27
              28

James C. Mahan
U.S. District Judge                                            -2-
